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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

BOY SCOUTS OF AMERICA AND                                      Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,
                                                               (Jointly Administered)
                          Debtors.1
                                                               Re Docket No.


             DECLARATION OF RACHEL B. MERSKY IN SUPPORT OF
           THE COALITION OF ABUSED SCOUTS FOR JUSTICE MOTION
       FOR ORDER PERMITTING FILING OF PROOF OF CLAIM FORMS SIGNED
      BY AUTHORIZED COUNSEL IN ACCORDANCE WITH BANKRUPTCY CODE
     SECTIONS 501 AND 502, BANKRUPTCY RULE 3001, AND OFFICIAL FORM 410

          I, Rachel B. Mersky, pursuant to 28 U.S.C. § 1746(2), under penalty of perjury, hereby

declare as follows:

          1.       I am a Member at the firm Monzack Mersky Browder and Hochman, PA, counsel

for the Coalition of Abused Scouts for Justice. I submit this declaration based on my personal

knowledge of the proceedings in In re Boy Scouts of America and Delaware BSA, LLC, and

review of the document described below.

          2.       Attached hereto as Exhibit 1 is a true and correct copy of an email exchange

between myself and David Buchbinder, U.S. Trustee.

          3.       Attached hereto as Exhibit 2 is a true and correct copy of the Proof of Claim

Form (Airbag Inflator Related) for TK Holding, Inc. 17-11375.

          I declare under pain and penalty of perjury of the laws of the United States that the

foregoing is true and correct.


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    The Debtors in these chapter 11 cases, together with the last four digits of Debtor’s federal tax identification
    number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
    address is 1325 West Walnut Hill Lane, Irving, Texas 75038.


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Dated: October 12, 2020                 Respectfully Submitted,

                                        /s/ Rachel B. Mersky
                                        RACHEL B. MERSKY




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